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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 MONTE SILVER, et al.,

         Plaintiffs,

 v.                                                Civil Action No.: 1:19-cv-00247-APM

 INTERNAL REVENUE SERVICE, et al.,

         Defendants.


                        REPLY BRIEF IN FURTHER SUPPORT OF

      MOTION FOR LEAVE TO FILE MEMORANDUM OF LAW OF AMICI CURIAE,
         REPUBLICANS OVERSEAS, INC., AND SEVERAL OF ITS CHAPTERS
        IN SUPPORT OF PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

        The RO Amici Curiae seek leave to file a memorandum in support of Plaintiffs’ Motion

for Summary Judgment [Dkt. No. 47] in the hopes of highlighting the potential harm that the Final

Regulations (as well as similar regulatory actions) pose to American citizens residing outside of

the United States that own and operate small businesses. The central issue that the RO Amici

Curiae wish to address concerns whether the Government’s Certification under 5 U.S.C. § 605(b)

is based on substantial evidence or any evidence at all. That Certification stated that the proposed

and final “regulations will not have a significant economic impact on a substantial number of

small entities within the meaning of section 601(6) of the Regulatory Flexibility Act (‘small

entities’).” (Emphasis added). Therefore, the RO Amici Curiae seek to offer further discussion on

whether the IRS had any basis for concluding that the regulations (a) will not have a significant

economic impact (b) on a substantial number of small entities.

        The brief proposed by the RO Amici Curiae will address both of these points, thereby

providing the Court with crucial information concerning the reasonableness of the Government’s
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Certification. Considering that chapters affiliated with RO create a network that spreads across

approximately 60 countries worldwide, the RO Amici Curiae are uniquely positioned to provide

information both about the nature of the impact of the regulation and the number of small entities

owned and/or operated by U.S. citizens abroad. While Plaintiffs are comprised of one man and

one small business in one country, the RO Amici Curiae is able to advocate on behalf the wider

expatriate American community of small business owners. As the Court can see, several of RO’s

chapters have approved submission of a joint memorandum.

       The Government opposes the RO Amici Curiae’s request, claiming that they have failed to

explain “why its proposed brief would provide a perspective different from what Plaintiffs already

can and do offer.” Opp. [Dkt No. 52] at 1. The Government further speculates, without any

plausible explanation, that “the close relationship between [the RO Amici Curiae] and Plaintiffs’

counsel makes it even less likely that [the RO Amici Curiae] would provide a distinct perspective

warranting a separate brief.” Id.

       As an initial concern, the Government presents a one-sided exposition of the law guiding

the Court’s decision to allow amicus briefs. So long as the Court is satisfied that the requirements

of Local Rule 7(o) have been met, it can allow for the filing of an amicus brief. In Neonatology

Assocs., P.A. v. Comm’r, 293 F.3d 128 (3d Cir. 2002) Judge (now Justice) Alito explained that

motions to permit such briefs should be granted “unless it is obvious that the proposed briefs” do

not meet the requirements of the applicable rule of court. Id. at 133 (citations omitted).1




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         See also, e.g., Jin v. Ministry of State Sec., 557 F. Supp. 2d 131, 138 (D. D.C. 2008)
(permitting an amicus brief despite acknowledging its “highly partisan position”); Am. Hosp. Ass’n
v. Azar, 385 F. Supp. 3d 1, 14 n. 18 (D. D.C. 2019) (permitting an amicus brief, citing Jin); United
States v. Philip Morris USA Inc., 2005 WL 8160465, at *1 (D. D.C. 2005) (permitting an amicus
brief, citing Neonatology Assocs.); Hopi Tribe v. Trump, 2019 WL 2494161, at *3 (D .D.C. Mar.
20, 2019) (“Courts in this district have granted leave where a movant sought to provide information


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        Beyond its one-sided recitation of law, the Government’s reasoning is overly narrow and

unduly dismissive. The Plaintiffs’ Motion for Summary Judgment does dispute the Government’s

Certification, identifying administrative records that undermine the Government’s Certification.

See Mt. for Summary Judgment [Dkt. No. 47-1] at 14 (“The administrative record is replete with

evidence showing that the proposed and final regulations would have a severe impact on a large

number of small businesses.”) (citing sources to the administrative record). Plaintiffs, however,

do not present independent facts refuting the Government Certification.2 Nor were Plaintiffs in a

position to do so, as this matter is not a class action. For these reasons, the RO Amici Curiae intend

to present this information for the Court’s consideration and benefit and therefore contend that

they wish to put forth a “position [that] is not adequately represented by a party.” Local Civil Rule

7(o).

        The Government’s purpose in engaging in speculation as to the involvement of Plaintiffs’

counsel, Mr. Zell, in the drafting of the RO Amici Curiae’s supporting memorandum is unclear.

Mr. Zell was engaged by the Plaintiffs as counsel and no longer represents the RO Amici Curiae.

Most importantly, the RO Amici Curiae submit that Mr. Zell has had, and will have, no part in

drafting the RO Amici Curiae’s memorandum. The proposed brief will not be, and was never

intended to be, an extension of Plaintiffs’ brief – no more than the Center for Taxpayer Rights’

brief is an extension.

        Shockingly, the Government posits – again, without basis – that the RO Amici Curiae’s

memorandum intends to be “patently partisan.” This cannot be a serious argument. Plaintiffs



regarding a significant, unclear legal issue […] and denied leave where a movant sought to present
arguments and insights that were not relevant to the stage of the litigation.”) (citations omitted).
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       The closest Plaintiffs get is including (but not discussing in detail) a very brief letter
submitted by Democrats Abroad relating to the Final Regulations.


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brought this action to determine whether the IRS violated the Regulatory Flexibility Act (RFA)

and Administrative Procedure Act (APA) by imposing burdensome regulations. In turn, the RO

Amici Curiae claim that these regulations have had, and will continue to have, a disparate impact

on taxpayers that reside outside of the United States and own a small business. Neither the issues

in this case nor the position of the RO Amici Curiae are “patently partisan.”3

       Overall, the Government’s opposition is merely part of a continued effort to ignore the

voice of the millions of American citizens residing outside of the United States, many of whom

own and operate small businesses of various types. As previously stated, the Government’s

estimate regarding the small businesses that would be impacted by the Transition Tax and the Final

Regulations ignores the approximately 150,000 small businesses owned and operated by

American citizens residing outside of the United States. See Memo. [Dkt. No. 47-1] at 21 n. 8.

The RO Amici Curiae urge the Court to reject the Government’s baseless opposition and grant it

leave to file a memorandum in support of Plaintiffs’ Motion for Summary Judgment.

Dated: June 1, 2020                          Respectfully Submitted,
                                             REPUBLICANS OVERSEAS, INC.,
                                             REPUBLICANS OVERSEAS ALBANIA,
                                             ASSOCIATION REPUBLICANS OVERSEAS
                                             FRANCE, REPUBLICANS OVERSEAS
                                             HELLENIC REPUBLIC, REPUBLICANS
                                             OVERSEAS ISRAEL, A.R., REPUBLICANS
                                             OVERSEAS NORTH MACEDONIA,
                                             REPUBLICANS OVERSEAS SWEDEN,
                                             REPUBLICANS OVERSEAS SWITZERLAND,
                                             and REPUBLICANS OVERSEAS UK,
                                             By Counsel


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        To the extent the Government is fixated on the fact that the names for the RO Amici Curiae
contain the word “Republicans,” its position is a non sequitur. The deciding votes and decisions
to pass the Tax Cuts and Jobs Act (“TCJA”) and the Final Regulations at issue in this action were
made by Republican politicians. Moreover, an organization affiliated with the Democratic
political party, Democrats Abroad, has previously expressed support for Mr. Silver’s position, see
supra at n. 2, further demonstrating the non-partisan nature of the case and the RO Amici Curiae’s
participation.


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                                             Inc., and several of its foreign-registered chapters



                                   CERTIFICATE OF SERVICE

       I hereby certify that on the 1st day of June, 2020, a copy of the foregoing document was

filed via the CM/ECF system, which will send out a notification of filing thereof to all counsel of

record in this matter.

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